 8:08-cr-00061-LSC-TDT        Doc # 51     Filed: 10/06/08    Page 1 of 1 - Page ID # 142




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )                 8:08CR61
                                              )
JOHN JANTZON,                                 )                  ORDER
                                              )
                     Defendant.               )


       This matter is before the court on the defendant's motion to continue trial (Doc. 50).
A 60-day continuance is requested so that counsel can review discovery. Defendant
wishes to review a large number of "additional" materials to which he was given access,
but the motion does not state when the additional materials became available for
inspection. The defendant has not filed a written affidavit signed by the defendant in
accordance with NECrimR 12.1, and has not otherwise complied with paragraph 2 of the
Trial Order filed September 16, 2008.

        IT IS ORDERED that the motion to continue trial (Doc. 50) is denied, and the trial
of this matter remains set for October 14, 2008.

      Pursuant to NECrimR 57.2, a party may appeal this order by filing an "Appeal of
Magistrate Judge's Order" no later than 12:00 noon on Wednesday, October 8, 2008.

       DATED October 6, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
